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 David A. Ward
   New Jersey Bar No. 042381996
   dward@klugerhealey.com
 KLUGER HEALEY, LLC
 521 Newman Springs Road, Suite 23
 Lincroft, NJ 07738
 Telephone: (973) 307-0800

ATTORNEYS FOR PLAINTIFF
SOCIAL POSITIONING INPUT SYSTEMS, LLC

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  SOCIAL POSITIONING INPUT SYSTEMS,
  LLC,
                                                           Case No. 23-cv-1488 (ES)(AME)
                Plaintiff,
                                                           STIPULATION OF DISMISSAL
                v.                                         WITH PREJUDICE


  PERVASIVE GROUP, INC.,

                Defendants.


       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Social Positioning Input Systems, LLC

and Defendant Pervasive Group, Inc. hereby stipulate to the dismissal of all claims asserted in this

action WITH PREJUDICE and all counterclaims asserted in this action without prejudice, with

each party to bear its own attorneys’ fees, costs and expenses.



Dated: May 23, 2023                             Respectfully Submitted,


 /s/ David A. Ward                               /s/ Michael T. Zoppo
 KLUGER HEALEY, LLC                              Michael T. Zoppo
 David A. Ward                                   FISH & RICHARDSON P.C.
 521 Newman Springs Road, Suite 23               7 Times Square, 20th Floor
 Lincroft, NJ 07738                              New York, New York 10036
 Tel: (973) 307-0800                             Telephone: (212) 765-5070
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